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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                           CASE NO. 11-6030-MJ-DIMITROULEAS

         Plaintiff,

  vs.

  CHRISTOS BAGIOS,

        Defendant.
  ________________________________________/

                                             ORDER

         THIS CAUSE is before the Court on the Defendant’s September 20, 2012 Appeal of

  Denial of Motion to Modify Conditions of Release. [DE-84]. The Court has received a

  September 25, 2012 Response [DE-86] from the Government. This Court has jurisdiction over

  this appeal. 18 U.S.C. § 3145 (a)(2). The Court is ruling in an expedited manner.

         The Defendant does not have sufficient ties to the United States to warrant the

  modification of his bond conditions. The Court adopts Judge Snow’s findings. The Court notes

  that this defendant was arrested on January 26, 2001. No indictment has been returned. The

  Defendant has consented to eleven (11) extensions of time for the Government to consider

  seeking an indictment. [DE-48, 50, 52, 54, 56, 59, 61, 64, 67, 72 and 83]. The Government now

  has until the middle of October to seek an indictment. Without the extensions of time, the

  Defendant may have already resolved the pending charges against him, so that he would not have

  to ask this Court to modify bond conditions that might no longer be in existence. It might be

  time to make a decision in this case.

         Wherefore, Defendant’s Appeal [DE-84] is Denied.
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         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  26th day of Sepember, 2012.




  Copies furnished to:

  Counsel of Record
  Pre Trial Services
